                Case 3:21-cv-05706-DGE Document 8 Filed 09/27/21 Page 1 of 1




 1                                       The Honorable Magistrate Michelle L. Peterson

 2

 3

 4

 5                         In The United States District Court
                         For The Western District Of Washington
 6

 7 Stacy Ritch and Gellert Dornay,
   individually and on behalf of all others similarly
 8 situated,

 9                         Plaintiffs,
                                                         No. 3:21-cv-05706-MLP
10         v.
                                                         Plaintiffs’ Jury Demand
11 American Honda Motor Co., Inc., a
   Delaware Corporation,
12
                      Defendant.
13

14
           Pursuant to Fed. R. Civ. P 38, Plaintiffs hereby demand a trial by jury on all issues so triable.
15
     September 27, 2021.
16

17
                                                           Ard Law Group PLLC
18

19

20                                                 By:

21                                                         Joel B. Ard, WSBA # 40104
22                                                         Ard Law Group PLLC
                                                           P.O. Box 11633
23                                                         Bainbridge Island, WA 98110
                                                           206.701.9243
24                                                         Joel@Ard.law
25                                                         Attorneys For Plaintiffs And
                                                           The Putative Class
26

27

Plaintiffs’ Jury Demand - 1                                                       Ard Law Group PLLC
Ritch v. Honda, 3:21-cv-05706-MLP                                                 P.O. Box 11633
                                                                                  Bainbridge Island, WA 98110
                                                                                  Phone: (206) 701-9243
